Case 6:20-cv-00665-ADA Document 33-6 Filed 12/18/20 Page 1 of 2




                   EXHIBIT C
             Case 6:20-cv-00665-ADA Document 33-6 Filed 12/18/20 Page 2 of 2

                                                         



                                    Franchise Tax Account Status
                                              As of : 11/24/2020 14:48:39



    This page is valid for most business transactions but is not sufficient for filings with the Secretary of State



                                              KOSS CORP
         Texas Taxpayer Number 13911682758
                  Mailing Address 4129 N PORT WASHINGTON RD MILWAUKEE, WI 53212-1029
 Right to Transact Business in ACTIVE
                         Texas
                State of Formation WI
 Effective SOS Registration Date Not Registered
          Texas SOS File Number Not Registered
          Registered Agent Name Not on file
Registered Office Street Address
